             Case:23-13559-TBM Doc#:1 Filed:08/10/23                                  Entered:08/10/23 14:05:38 Page1 of 32


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF COLORADO

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Phoenix 2 LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Denver Teds Cheesesteaks
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  4845 Pearl East Circle
                                  Suite 118
                                  PMB 89800
                                  Boulder, CO 80301
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Boulder                                                         Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  2020 Lawrence St.
                                                                                                  Unit A Denver, CO 80205
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Phoenix 2 LLC                                                                                Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
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Debtor    Phoenix 2 LLC                                                                                   Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
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Debtor   Phoenix 2 LLC                                                          Case number (if known)
         Name

                         $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                         $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                         $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor    Phoenix 2 LLC                                                                            Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      August 10, 2023
                                                  MM / DD / YYYY


                             X /s/ Jason Wiener                                                           Jason Wiener
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X /s/ Jenny M.F. Fujii                                                        Date August 10, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Jenny M.F. Fujii 30091
                                 Printed name

                                 Kutner Brinen Dickey Riley PC
                                 Firm name

                                 1660 Lincoln Street, Suite 1720
                                 Denver, CO 80264
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     303-832-2400                  Email address      jmf@kutnerlaw.com

                                 30091 CO
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         Phoenix 2 LLC

United States Bankruptcy Court for the:     DISTRICT OF COLORADO

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       August 10, 2023                 X /s/ Jason Wiener
                                                           Signature of individual signing on behalf of debtor

                                                            Jason Wiener
                                                            Printed name

                                                            Manager
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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Fill in this information to identify the case:

Debtor name           Phoenix 2 LLC

United States Bankruptcy Court for the:                      DISTRICT OF COLORADO

Case number (if known)
                                                                                                                                                                                     Check if this is an
                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                     $            72,499.00

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                    $            72,499.00


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           100,476.00


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            17,967.18

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$            66,988.37


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                           $             185,431.55




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
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Fill in this information to identify the case:

Debtor name         Phoenix 2 LLC

United States Bankruptcy Court for the:     DISTRICT OF COLORADO

Case number (if known)
                                                                                                                        Check if this is an
                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                     Current value of
                                                                                                                        debtor's interest

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.

7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit


          7.1.     Landlord deposit                                                                                                   $4,500.00



8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment


9.        Total of Part 2.                                                                                                        $4,500.00
          Add lines 7 through 8. Copy the total to line 81.

Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.


Part 4:          Investments
13. Does the debtor own any investments?

       No. Go to Part 5.
       Yes Fill in the information below.

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                          page 1
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Debtor       Phoenix 2 LLC                                                           Case number (If known)
             Name




Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description               Date of the last         Net book value of         Valuation method used   Current value of
                                            physical inventory       debtor's interest         for current value       debtor's interest
                                                                     (Where available)

19.       Raw materials

20.       Work in progress

21.       Finished goods, including goods held for resale

22.       Other inventory or supplies
          Minimal Liquor and Beer                                             Unknown                                             Unknown



23.       Total of Part 5.                                                                                                          $0.00
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
             No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                             Valuation method                          Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                        Net book value of         Valuation method used   Current value of
                                                                     debtor's interest         for current value       debtor's interest
                                                                     (Where available)

39.       Office furniture
          Ice and Soda Machines (subject to lease)                            Unknown                                             Unknown


          Miscellaneous equipment used in business
          (See Exhibit)                                                       Unknown                                            $67,999.00



Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                    page 2
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Debtor        Phoenix 2 LLC                                                                  Case number (If known)
              Name

40.        Office fixtures

41.        Office equipment, including all computer equipment and
           communication systems equipment and software

42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

43.        Total of Part 7.                                                                                                           $67,999.00
           Add lines 39 through 42. Copy the total to line 86.

44.        Is a depreciation schedule available for any of the property listed in Part 7?
              No
              Yes

45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
              No
              Yes

Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                            Net book value of          Valuation method used   Current value of
                                                                          debtor's interest          for current value       debtor's interest
                                                                          (Where available)

60.        Patents, copyrights, trademarks, and trade secrets
           Trade Names: Denver Ted's Cheesesteaks and
           Denver Ted's
           Instagram Account: Denver Teds
           Website: www.denverteds.com
           Gmail Account: denverteds@gmail.com
           Twitter account: @denverteds
           Recipes and related instructions for making
           sandwiches
           Any Logo Files or Trademarks Associates with
           Brand Marks                                                               Unknown                                            Unknown



61.        Internet domain names and websites

62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations


Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                        page 3
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Debtor        Phoenix 2 LLC                                                                Case number (If known)
              Name

64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                            $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 4
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Debtor          Phoenix 2 LLC                                                                                       Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                     $0.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                   $4,500.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                          $67,999.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                              $72,499.00          + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                  $72,499.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 5
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Fill in this information to identify the case:

Debtor name         Phoenix 2 LLC

United States Bankruptcy Court for the:           DISTRICT OF COLORADO

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
      #1 Max Success Business,
2.1                                                                                                                       $74,000.00                 Unknown
      Inc.                                         Describe debtor's property that is subject to a lien
      Creditor's Name                              Secured by all assets of Debtor
      ATTN: Michael Rodriguez
      2565 Kendall Street
      Edgewater, CO 80214
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.2   2020 Lawrence Street LLC                     Describe debtor's property that is subject to a lien                   $26,476.00                 $4,500.00
      Creditor's Name                              Landlord deposit of $4,500 plus Furniture,
                                                   Fixtures, and Equipment
      1900 West Littleton Blvd.
      Littleton, CO 80120
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply


Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2
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Debtor      Phoenix 2 LLC                                                                      Case number (if known)
            Name

          No                                      Contingent
          Yes. Specify each creditor,             Unliquidated
      including this creditor and its relative    Disputed
      priority.



3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.          $100,476.00

Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
       #1 Max Success Business, Inc.
       ATTN: Michael Rodriguez                                                                           Line   2.2
       2565 Kendall Street
       Edgewater, CO 80214

       2020 Lawrence Street, LLC
       2000 South Colorado Blvd.                                                                         Line   2.1
       Tower 3, Suite 815
       Denver, CO 80222

       Lincoln Property Company
       ATTn: Aleshia Lane                                                                                Line   2.2
       2000 South Colorado Blvd.
       Tower 3, Suite 825
       Denver, CO 80222




Official Form 206D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
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Fill in this information to identify the case:

Debtor name        Phoenix 2 LLC

United States Bankruptcy Court for the:         DISTRICT OF COLORADO

Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                               $657.05         $657.05
          Brendan Carley                                      Check all that apply.
          1355 North Pearl Street                                Contingent
          Apt. 210                                               Unliquidated
          Denver, CO 80203                                       Disputed

          Date or dates debt was incurred                     Basis for the claim:
          April 10, 2023
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                               $829.57         $829.57
          Cesar Pineda                                        Check all that apply.
          16814 East Wyoming Circle                              Contingent
          Apt. 103                                               Unliquidated
          Aurora, CO 80017                                       Disputed

          Date or dates debt was incurred                     Basis for the claim:
          April 10, 2023
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 1 of 7
                                                                                                              48404
         Case:23-13559-TBM Doc#:1 Filed:08/10/23                                              Entered:08/10/23 14:05:38 Page16 of 32

Debtor      Phoenix 2 LLC                                                                            Case number (if known)
            Name

2.3      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $556.00    $556.00
         City and County of Denver                          Check all that apply.
         Treasury Division                                     Contingent
         P.O. Box 17420                                        Unliquidated
         Denver, CO 80217                                      Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Occupationa Privilege Tax
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.4      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,500.00   $2,500.00
         Colorado Department of Revenue                     Check all that apply.
         1881 Pierce Street                                    Contingent
         Attn: Bankruptcy Dept., RM 104                        Unliquidated
         Lakewood, CO 80215                                    Disputed

         Date or dates debt was incurred                    Basis for the claim:
         April 20, 2023                                     Colorado Sales Taxes

         Last 4 digits of account number 6387               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.5      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,351.37   $1,351.37
         David Martinez                                     Check all that apply.
         6325 Martin Luther King Blvd.                         Contingent
         Denver, CO 80207                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         April 10, 2023
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.6      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $613.06    $613.06
         Drazana Scherbl                                    Check all that apply.
         1175 Albion Street                                    Contingent
         Apt. 422                                              Unliquidated
         Denver, CO 80220                                      Disputed

         Date or dates debt was incurred                    Basis for the claim:
         April 10, 2023
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2 of 7
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Debtor      Phoenix 2 LLC                                                                            Case number (if known)
            Name

2.7      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,425.34   $1,425.34
         Dylan Kissinger                                    Check all that apply.
         725 East 26th Avenue                                  Contingent
         Unit B                                                Unliquidated
         Denver, CO 80205                                      Disputed

         Date or dates debt was incurred                    Basis for the claim:
         April 10, 2023
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.8      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $400.35    $400.35
         Hannah Flaherty                                    Check all that apply.
         2281 West Custer Place                                Contingent
         Denver, CO 80223                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         April 10, 2023
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.9      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                        $0.00    $0.00
         Internal Revenue Service                           Check all that apply.
         PO Box 7346                                           Contingent
         Philadelphia, PA 19101-7346                           Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Purposes Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.10     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $706.59    $706.59
         Kyanna Burrell                                     Check all that apply.
         7500 Xavier Street                                    Contingent
         Westminster, CO 80030                                 Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         April 10, 2023
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 3 of 7
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Debtor      Phoenix 2 LLC                                                                            Case number (if known)
            Name

2.11     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,014.59   $1,014.59
         Kyle Edwards-Kaufmann                              Check all that apply.
         2550 North Washington Street                          Contingent
         Denver, CO 80205                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         April 10, 2023
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.12     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,285.27   $1,285.27
         Marcus Hinojos                                     Check all that apply.
         4404 Morrison Road                                    Contingent
         Apt. 104                                              Unliquidated
         Denver, CO 80219                                      Disputed

         Date or dates debt was incurred                    Basis for the claim:
         April 10, 2023
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.13     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,044.39   $2,044.39
         Megan Holman                                       Check all that apply.
         1820 South Zuni Street                                Contingent
         Denver, CO 80223                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         April 10, 2023
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.14     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $121.16    $121.16
         Naomi Alene                                        Check all that apply.
         1974 South University Blvd.                           Contingent
         Apt. 5                                                Unliquidated
         Denver, CO 80120                                      Disputed

         Date or dates debt was incurred                    Basis for the claim:
         April 10, 2023
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 4 of 7
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Debtor        Phoenix 2 LLC                                                                              Case number (if known)
              Name

2.15       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                 $653.63        $653.63
           Stephen Ruiz                                         Check all that apply.
           1072 Knox Court                                         Contingent
           Denver, CO 80204                                        Unliquidated
                                                                   Disputed

           Date or dates debt was incurred                      Basis for the claim:
           April 10, 2023
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                     No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                   Yes


2.16       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                              $1,374.22         $1,374.22
           Tyler Zappa                                          Check all that apply.
           1202 Logan Street                                       Contingent
           Apt. 102                                                Unliquidated
           Denver, CO 80203                                        Disputed

           Date or dates debt was incurred                      Basis for the claim:
           April 10, 2023
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                     No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                   Yes


2.17       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                              $1,195.64         $1,195.64
           Vincent Cipri                                        Check all that apply.
           11226 Downing Drive                                     Contingent
           Northglenn, CO 80233                                    Unliquidated
                                                                   Disputed

           Date or dates debt was incurred                      Basis for the claim:
           April 10, 2023
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                     No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                   Yes


2.18       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                              $1,238.95         $1,238.95
           Zachary Pennington                                   Check all that apply.
           901 North Sherman Street                                Contingent
           Apt. 702                                                Unliquidated
           Denver, CO 80203                                        Disputed

           Date or dates debt was incurred                      Basis for the claim:
           April 10, 2023
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                     No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                   Yes



Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim




Official Form 206 E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 5 of 7
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Debtor      Phoenix 2 LLC                                                                   Case number (if known)
            Name

3.1      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $312.34
         ChowNow                                                      Contingent
         12181 Bluff Creek Drive                                      Unliquidated
         Suite 200                                                    Disputed
         Los Angeles, CA 90094
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.2      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $536.00
         Comcast                                                      Contingent
         One Comcast Center                                           Unliquidated
         Philadelphia, PA 19103                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 1520
                                                                   Is the claim subject to offset?     No       Yes

3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $5,118.00
         Door Dash
         303 2nd Street                                               Contingent
         South Tower                                                  Unliquidated
         Suite 800                                                    Disputed
         San Francisco, CA 94107
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $33,799.00
         Rewards Network
         ATTN: Michael Westerman                                      Contingent
         540 West Madison Street                                      Unliquidated
         Suite 2400                                                   Disputed
         Chicago, IL 66061
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number 8189                      Is the claim subject to offset?     No       Yes


3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $25,446.00
         Shamrock CO Foods Aurora                                     Contingent
         ATTN: Don Sherr                                              Unliquidated
         P.O. Box 933534                                              Disputed
         Atlanta, GA 31193
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number 1996                      Is the claim subject to offset?     No       Yes


3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $133.00
         The Hartford                                                 Contingent
         P.O. Box 660916                                              Unliquidated
         Dallas, TX 75266-0916                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $205.03
         Toast Inc.                                                   Contingent
         401 Park Drive                                               Unliquidated
         Suite 801                                                    Disputed
         Boston, MA 02215
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number 9802                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 6 of 7
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Debtor       Phoenix 2 LLC                                                                          Case number (if known)
             Name

3.8       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $1,439.00
          XCel Energy                                                         Contingent
          P.O. Box 9479                                                       Unliquidated
          Minneapolis, MN 55484                                               Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number 2032
                                                                           Is the claim subject to offset?         No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the            Last 4 digits of
                                                                                                    related creditor (if any) listed?                  account number, if
                                                                                                                                                       any
4.1       Internal Revenue Service
          Insolvency Unit                                                                           Line     2.9
          1999 Broadway
                                                                                                           Not listed. Explain
          MS 5012 DEN
          Denver, CO 80202-3025

4.2       Office of the Attorney General
          State of Colorado                                                                         Line     2.4
          1300 Broadway
                                                                                                           Not listed. Explain
          Denver, CO 80203

4.3       Office of the Attorney General
          US Department of Justice                                                                  Line     2.9
          950 Pennsylvania Avenue, NW
                                                                                                           Not listed. Explain
          Suite 4400
          Washington, DC 20530-0001

4.4       Office of the US Attorney
          District of Colorado                                                                      Line     2.9
          1225 Seventeenth Street
                                                                                                           Not listed. Explain
          Suite 700
          Denver, CO 80202-2628

4.5       State of Colorado
          Division of Securities                                                                    Line     2.4
          1560 Broadway, Suite 900
                                                                                                           Not listed. Explain
          Denver, CO 80202-5150


Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
5a. Total claims from Part 1                                                                           5a.          $                       17,967.18
5b. Total claims from Part 2                                                                           5b.    +     $                       66,988.37

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.          $                            84,955.55




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 7 of 7
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Fill in this information to identify the case:

Debtor name       Phoenix 2 LLC

United States Bankruptcy Court for the:     DISTRICT OF COLORADO

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Non-Residential Real
           lease is for and the nature of        Property Lease
           the debtor's interest

               State the term remaining                                             2020 Lawrence Street LLC
                                                                                    2000 South Colorado Blvd.
           List the contract number of any                                          Tower 3, Suite 825
                 government contract                                                Denver, CO 80222


2.2.       State what the contract or            Services Contract
           lease is for and the nature of
           the debtor's interest

               State the term remaining                                             Door Dash
                                                                                    303 2nd Street
           List the contract number of any                                          South Tower, Suite 800
                 government contract                                                San Francisco, CA 94107


2.3.       State what the contract or            Services Contract
           lease is for and the nature of
           the debtor's interest

               State the term remaining                                             Rewards Network
                                                                                    ATTN: Michael Westerman
           List the contract number of any                                          540 West Madison Street, Suite 2400
                 government contract                                                Chicago, IL 66061


2.4.       State what the contract or            Contract
           lease is for and the nature of
           the debtor's interest

               State the term remaining                                             Shamrock Company Foods
                                                                                    ATTN: Don Sherr
           List the contract number of any                                          P.O. Box 933534
                 government contract                                                Atlanta, GA 31193




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 2
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Debtor 1 Phoenix 2 LLC                                                           Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.5.      State what the contract or        Equipment Rental
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                   Shamrock Group
                                                                        ATTN: Davis Gunter
          List the contract number of any                               2455 Minehaha Avenue
                government contract                                     Minneapolis, MN 55404




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                Page 2 of 2
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Fill in this information to identify the case:

Debtor name      Phoenix 2 LLC

United States Bankruptcy Court for the:   DISTRICT OF COLORADO

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Main Street                                                                           2020 Lawrence Street               D   2.2
          Phoenix Workers                                                                       LLC                                E/F
          Co-op, LCA
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
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Fill in this information to identify the case:

Debtor name         Phoenix 2 LLC

United States Bankruptcy Court for the:    DISTRICT OF COLORADO

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                               $272,929.00
      From 1/01/2023 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                               $635,170.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




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4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case              Court or agency's name and                 Status of case
             Case number                                                           address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

             Recipient's name and address              Description of the gifts or contributions                 Dates given                            Value

      9.1.   Food Bank of the Rockies                  Perishable Food Items
                                                       (Cases of Meat, Cheese, Bread,
                                                       Vegetables, Condiments, etc.)                             Spring 2023                       Unknown

             Recipients relationship to debtor




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Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received              If not money, describe any property transferred               Dates                Total amount or
               the transfer?                                                                                                                         value
               Address
      11.1.    Kutner Brinen Dickey Riley
               PC
               1660 Lincoln Street
               Suite 1720                                                                                              June 9,
               Denver, CO 80264                                                                                        2023                       $4,838.00

               Email or website address


               Who made the payment, if not debtor?
               Main Street Phoenix Workers
               Cooperative LCA



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                            Describe any property transferred                     Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

              Who received transfer?                   Description of property transferred or                     Date transfer             Total amount or
              Address                                  payments received or debts paid in exchange                was made                           value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.



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          Does not apply

                Address                                                                                             Dates of occupancy
                                                                                                                    From-To

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address              Nature of the business operation, including type of services              If debtor provides meals
                                                       the debtor provides                                                       and housing, number of
                                                                                                                                 patients in debtor’s care

Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and           Last 4 digits of            Type of account or          Date account was               Last balance
              Address                                  account number              instrument                  closed, sold,              before closing or
                                                                                                               moved, or                           transfer
                                                                                                               transferred
      18.1.     First Bank                             XXXX-5067                      Checking                 May 8, 2023                          $416.99
                P.O. Box 150097                                                       Savings
                Denver, CO 80215-0097                                                 Money Market
                                                                                      Brokerage
                                                                                      Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

      Depository institution name and address                Names of anyone with                  Description of the contents             Does debtor
                                                             access to it                                                                  still have it?
                                                             Address


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20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                             Court or agency name and              Nature of the case                          Status of case
      Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                             address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                             address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None


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   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Jason Leslie
                    333 Ovington Avenue
                    Apt. A27
                    Brooklyn, NY 11209

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.



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             Name and address of recipient             Amount of money or description and value of               Dates             Reason for
                                                       property                                                                    providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation
   Main Street Phoenix Workers Co-op, LCA                                                              EIN:


32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         August 10, 2023

/s/ Jason Wiener                                                Jason Wiener
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   Manager

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                                               United States Bankruptcy Court
                                                          District of Colorado
 In re    Phoenix 2 LLC                                                                          Case No.
                                                                     Debtor(s)                   Chapter      7




                                   VERIFICATION OF CREDITOR MATRIX


I, the Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




Date:     August 10, 2023                                /s/ Jason Wiener
                                                         Jason Wiener/Manager
                                                         Signer/Title
